     Case: 4:23-cv-00242-BYP Doc #: 978 Filed: 05/13/25 1 of 4. PageID #: 68819




                        IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


IN RE: EAST PALESTINE TRAIN                 )      Case No. 4:23-CV-00242-BYP
DERAILMENT                                  )      JUDGE BENITA Y. PEARSON



                                      STATUS REPORT

       Pursuant to the Court’s April 29, 2025 Order (ECF No. 976) Defendants Norfolk

Southern Corporation and Norfolk Southern Railway Company (collectively “Norfolk

Southern” or “Defendants”) by and through their undersigned counsel hereby submit the

within Status Report, stating as follows:

I.     Individuals and Businesses who have Opted-Out of the Class Action Settlement
       and are not Named in 14 New Cases

       The Court’s Order directed counsel for Norfolk Southern to provide an update on any

consultations they have had with individuals and businesses “who have validly opted out of

the [Class Action] Settlement and who are not named in any of the 14 new cases” iled

between January 30, 2025 and February 5, 2025. (See ECF No. 976, PageID #: 68817). The

Exclusion List iled with this Court has lines which refer either to an individual or a business.

(See ECF No. 552). Without waiver of and expressly reserving all its rights, including to the

extent any given individual or business has failed to properly exclude themselves individually

and/or their business entity, Norfolk Southern states as follows: Of the individuals and

businesses on the Exclusion List, 39 appear to coincide with certain plaintiffs named in the

14 new cases iled in the Northern District of Ohio since January 30, 2025. In addition, 53

individual and business names on the Exclusion List appear to coincide with certain plaintiffs

named in litigation currently pending against Norfolk Southern in other jurisdictions.
      Case: 4:23-cv-00242-BYP Doc #: 978 Filed: 05/13/25 2 of 4. PageID #: 68820




Accordingly, it appears that the remaining individuals and businesses on the Exclusion List

are not involved in current litigation against Norfolk Southern.

        After reviewing the list of individuals and businesses who comprise the non-litigant

opt-out group discussed above and comparing the same to its records, Norfolk Southern

represents that, to the best of its knowledge, it has not been contacted by, or on behalf of,

these individuals or businesses with regard to potential resolution or litigation. Accordingly,

at this time, there have not been any known consultations with these individuals and

businesses, on the one hand, and Norfolk Southern, on the other.

II.     Case Nos. 4:24CV0587 and 4:24CV1024

        The subrogation action iled by State Farm Fire & Casualty Co. at Case No.

4:24CV00587 has settled. Norfolk Southern is awaiting the executed settlement papers.

        The subrogation action iled by Erie Insurance and Homesite Insurance at Case No.

4:24CV1024 has not settled, but consultations are ongoing. Plaintiff Erie Insurance has

asserted 20 different subrogation claims and Homesite Insurance has asserted three such

claims based on the Plaintiffs’ payments to its insureds pursuant to the applicable insurance

policies. Plaintiffs’ counsel has provided Norfolk Southern’s counsel with documents that

Plaintiffs believe support their claims, with the latest documents having been provided on

April 17, 2025. Plaintiffs’ counsel is still in the process of collecting documents on several

claims and Norfolk Southern’s analysis of the documentation and claims is ongoing.
   Case: 4:23-cv-00242-BYP Doc #: 978 Filed: 05/13/25 3 of 4. PageID #: 68821




Respectfully submitted,


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    Case: 4:23-cv-00242-BYP Doc #: 978 Filed: 05/13/25 4 of 4. PageID #: 68822




                                  CERTIFICATE OF SERVICE

         I hereby certify that on May 13, 2025, I caused a copy of the foregoing to be filed with

the Clerk of the Court using the Court’s CM/ECF electronic filing system, which will provide

electronic notice to all counsel of record.



                                              /s/Scott D. Clements
                                              Scott D. Clements



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